          Case 1:20-cv-03010-APM Document 156 Filed 07/09/21 Page 1 of 6




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, et al.,

                                Plaintiffs,            Case No. 1:20-cv-03010-APM

 v.                                                    HON. AMIT P. MEHTA
 GOOGLE LLC,

                                Defendant.




 RESPONSE TO THE COURT’S JUNE 29, 2021 ORDER REGARDING THIRD-PARTY
                       DISCOVERY DISPUTES

       At the June 29, 2021 status conference, the parties described disputes with certain

subpoenaed third parties, and the Court ordered that “the parties and relevant third parties shall file

statements outlining their positions as to the issues in dispute” by Friday, July 9, 2021. Plaintiffs’

subsequent third-party meet-and-confer efforts proved productive, narrowing or eliminating some

points of dispute and providing paths forward for discussions on others. Accordingly, although

some third-party disputes remain, none require Court intervention at this time.

       Plaintiffs will update the Court on the status of their third-party discovery efforts in the

July 27, 2021 status report, and propose to file any position statements regarding ripe third-party

disputes contemporaneously with that report.

       Plaintiffs reserve all rights to respond to any filing Google or third parties make regarding

third-party discovery.

 Dated: July 9, 2021                            Respectfully submitted,

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                                                   1
Case 1:20-cv-03010-APM Document 156 Filed 07/09/21 Page 2 of 6



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                              2
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                              3
Case 1:20-cv-03010-APM Document 156 Filed 07/09/21 Page 4 of 6



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                              4
Case 1:20-cv-03010-APM Document 156 Filed 07/09/21 Page 5 of 6



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                              5
Case 1:20-cv-03010-APM Document 156 Filed 07/09/21 Page 6 of 6



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                               6
